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UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE ne wm \3 PI-‘i_ '3'- 1142
Western Division

 
 

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Office of the Clerk ROBEW. \ -`__,-=:`li(:*;_ot.;%)_
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nrc ;\L'-§s e':‘i.,* ~
W'D` " Deputy-in-Charge

Robert R. Di Trolio, Clerk
242 Federal Building

1 6 7 N. Main Street
Memphis, Tennessee 38103
(901) 495-1200

U.S. Courthouse, Room 262
111 South HighlandAvenue
Jackson, Tennessee 38301
( 731 ) 421 -9200

 

NOTICE OF SETTING
Before Bernice B. Donald, United States District Judge

 

May 13, 2005

RE: 2:04CV2771-D
American Copper & Brass, Inc. v. Boliden AB et al.

Dear Sir/Madam:

A(n) MOTION HEARING on defendant’s Motion to Dismiss the Consolidated
Arnended C]ass Action Cornplaint is hereby SET on WEDNESDAY, JUNE 22, 2005 at 9:00
A.M., in Courtroom No. 3, 9th floor of the Clifford Davis Federa] Building, Memphis, Tennessee.

The parties are instructed to have present any witnesses Who Will be needed for this
hearing

If you have any questions, please contact the case manager at the number provided below.

Sincerely,
ROBERT R. DI TROLIO, CLERK

     

BY:

  

  

Te L. aley
C e Manager to Judge Bernice B. Donald

901~495-1276

 

F'TNI\I'ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:04-CV-02771 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listedl

 

William H. Rooney

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave.

NeW York7 NY 10019

Sameer Nitanand Advani

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave

NeW York7 NY 10019

Seema Tendolkar

PAUL WEISS RIFKIND WHARTON & GARRISON
1285 Avenue ofAmericas

NeW York7 NY 10019

Aidan Synnott

PAUL WEISS RIFKIND WHARTON & GARRISON
1285 Avenue of the Americas

NeW York7 NY 10019

Alexandra H. Russello

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave.

NeW York7 NY 10019

B. J. Wade

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

William M. Audet

ALEXANDER HAWES & AUDET LLP
152 North Third Street

Ste. 600

San Jose, CA 95112

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Paul Kent Bramlett
BRAMLETT LAW OFFICES
P.O. Box 150734

Nashville, TN 37215--073

Mary lane Fait

WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLC- Chicago
55 W. Monroe St.

Ste. 11 11

Chicago, IL 60603

Robert L. Crawford

WYATT TARRANT & CO1\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

.1 erome A. Broadhurst

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 3 8103--246

Colin J. Carnahan

BOULT CUMM[NGS CONNERS & BERRY
414 Union St.

Ste. 1600

Nashville, TN 37219

Paul A. AleXis

BOULT CUMM[NGS CONNERS & BERRY
414 Union St.

Ste. 1600

Nashville, TN 37219

Scott S. Rose

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave

NeW York7 NY 10019

Moses Silverman

PAUL WEISS RIFKIND WHARTON & GARRISON
1285 Avenue of the Americas

NeW York7 NY 10019

Ranelle A. Leier

OPPENHEIMER WOLFF & DONNELLY
3300 Plaza VH Bldg

45 S. Seventh St.

1\/1inneapolis7 MN 55402--160

Case 2:04-cv-02771-BBD-dkv Document 78 Filed 05/13/05 Page 4 of 4 Page|D 105

Richard N. LaFlamme
LAFLAMME & MAULDIN, P.C.
2540 Spring Arbor Road

.1 ackson7 1\/11 49203

.1 ohn 1. Houseal

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Daniel C. Oliverio
HODGSON RUSS7 LLP
One 1\/1 & T Plaza

Ste 2000

Buffalo, NY 14203

.1. Brook Lathram

BURCH PORTER & .1 OHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Kevin 1\/1. Kearney
HODGSON RUSS LLP
One 1\/1 & T Plaza

Ste 2000

Buffalo, NY 14203

Kelly M. Hnatt

WILLKIE FARR & GALLAGHER LLP
787 Seventh Ave.

NeW York7 NY 10019

.1 ames R. NeWsom

HARRIS SHELTON HANOVER V\MLSH7 PLLC.
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103--255

Mark S. Olson

OPPENHEIMER WOLFF & DONNELLY
3400 Plaza VH

45 S. Seventh St.

1\/1inneapolis7 MN 55402--160

Honorable Bernice Donald
US DISTRICT COURT

